IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF V'IRGINIA

(Roanoke Division)

JAMES DOE,

Plaintiff,
v.
VIRGINIA POLYTECHNIC
INSTITUTE AND STATE
UNIVERSITY, TIMOTHY SANDS,
FRANK SHUSHOK, JR., ENNIS Civil ACtiOn NO. _'ZM__

MCCRERY, FRANCES KEENE,
AND KYLE ROSE, employees Of
Virginia Po]ytechnic Institute and
Sta te University, sued in his or her
Oii‘i'cia] and individual ca pacity,
join t] y an d severally,

Defendants.

 

 

COMPLAINT
James Doe1 files this complaint against Defendants Virginia Polytechnic
Institute and State University, Timothy Sands, Frank Shushok, Jr., Ennis
l\/lcCrery, Frances Keene and Kyle Rose, for gender-based discrimination in
violation of Title IX of the Education Amendments of 1972 (20 U.S.C. § 1681 et

seq.), violations of his rights under the due process and equal protection

 

1 “James Doe” is not the Plaintifi’s real name. Due to the nature of the allegations in
this lawsuit, Mr. Doe is proceeding under a pseudonym to protect his privacy and
out of fear of retaliation, and to protect the identity of his accuser, he is identifying
her as “Jan Roe.” ln using a pseudonym, Doe relies upon the factors set out in Co.
Doe v. Pub. Cm'zen, 74. F.3d 246 <4thcir. 2014).

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requirements of the Fourteenth Amendment to the United States Constitution, the
Virginia Constitution, breach of contract, and other state law causes of action. ln
support of this complaint, James Doe states as followsf

THE PARTIES AND JURISDICTION
1. Plaintiff J ames Doe (“l\/lr. Doe”) is, and at all times relevant to this Complaint
has been, a resident of Virginia. Plaintiff Was a Virginia Polytechnic lnstitute and
State University (the “University” or “Virginia Tech”) student from Fall 2014 until
Spring 2016.
2. Defendant Virginia Tech is a public land'grant research university With its
principal place of business located in the CommonWealth of Virginia.
3. Defendant Timothy Sands is or Was at the pertinent times the President of
the University and resides in Virginia.
4. Defendant Frank Shushok, Jr., Ph.D, is or Was at the pertinent times a
Senior Assistant Vice President for the University and resides in Virginia.
5. Defendant Ennis l\/[cCrery is or Was at pertinent times a Student Conduct
Hearing Agent for the University and resides in Virginia.
6. Defendant Frances Keene is or Was at pertinent times a Student Conduct
Hearing Officer for the University and resides in Virginia.
7 . Defendant Kyle Rose is or Was at the pertinent times a Student Conduct
Hearing Agent for the university and resides in Virginia.
8. The Court has federal question and supplemental jurisdiction pursuant to 28

U.S.C. § 1331 and 28 U.S,C. § 1367 becausef (i) the federal law claims arise under

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the United States Constitution, brought pursuant to 42 U.S.C. 6 1983, and under
the laws of the United States, including Title lX of the Education Amendments of
1972, 20 U.S.C. §§ 1681'88; and, (ii) the state law and common law claims are so
closely related to the federal law claims as to form the same case or controversy
under Article III of the United States Constitution.
9. This Court has personal jurisdiction over Defendant Virginia Tech and
affiliated Defendants on the grounds that they are conducting business Within the
Commonwealth of Virginia.
10. Venus for this action properly lies in this district pursuant to 28 U.S.C. §
1391 because Virginia Tech is located in this judicial district and a substantial part
of the events or omissions giving rise to the claims occurred in this judicial district
FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS

11. l\/lr. Doe enrolled as an undergraduate student at Virginia Tech and
matriculated in the fall semester of 2014. Beginning at that time, and continuing
through the events giving rise to this action, Mr. Doe paid tuition to attend the
University.
12. l\/lr. Doe expected to graduate in the Spring of 2018.

THE INCIDENT
13. Jan Roe (“l\/[s. Roe”) falsely accused Mr. Doe of sexually assaulting her in the

early morning of November 20, 2015.

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14. l\/Ir. Doe and Ms. Roe were introduced by mutual friends, A.K. and S.R., who
thought they might enjoy attending a date party thrown by the Zeta Psi fraternity
together.

15. On November 19, 2015, Doe and Roe were picked up around 10130 p.m. by the
designated driver for the party and taken to the fraternity house on Roanoke Street.
16. Approximately 15'30 people attended the gathering, which was monitored by
sober fraternity brothers to ensure there was no underage or excessive drinking
occurring

1'7. Both Roe and Doe drank alcoholic beverages over the course of the evening
Neither Doe nor Roe could state with certainty how much alcohol they consumed.
18. While at the Zeta Psi fraternity, Doe and Roe engaged in consensual kissing.
A video was taken of Doe and Roe briefly kissing before leaving the party to head
home for the night.

19. Before leaving the party, A.K. asked Roe if she was sure she wanted to go
back with Doe. Roe responded in the affirmative with a nod of her head.

20. The designated driver took Doe and Roe back to Doe’s apartment at
approximately 1100 a.m. on the morning of November 20, 2015. Roe sat on Doe’s lap
during the drive because the car Was a small sedan and there was at least one other
couple in the car with them.

21. According to Roe, she expected to be taken back to her own apartment but
instead the two of them arrived at Doe’s apartment

22. Roe was able to walk to his apartment unassisted

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23. When Doe and Roe got to Doe’s apartment, they went into Doe’s room where
they proceeded to undress.
24. Roe then laid down on Doe’s bed and she and Doe began having vaginal
intercourse Doe used a condom during the encounter.
25. Doe and Roe then went to sleep in Doe’s bed.
26. ln the morning, Doe and Roe woke up and briefly spoke to Doe’s roommate,
A.H., before Doe drove Roe back to her apartment on campus.
27. On that same day, Doe sent text messages to her friend, A.K. which showed
that the sexual intercourse was consensual Specifically, in responding text
messages from A.K., Doe sent several text messages, including

a. “Don’t worry mom we used protection”;

b. “Haha [sicl he’s so cool and he was reall [sicl good”;

c. “too soon to add him as a snapchat friend...” (ellipses in original)
28. Over the course of Thanksgiving vacation, which began the day following the
incident, Roe and Doe exchanged friendly text messages with each other about how
their holiday break was going.

THE INVESTIGATION

I. The Disciplinary Proceeding
29. On April 4, 2016, Doe was informed by letter from Ennis l\/[cCrery, Title lX
Investigator & Gender'Based Violence Prevention Specialist, that the Office of the
Senior Associate Vice President for Student Affairs had received information

alleging his involvement in an incident that required the attention of the Title IX

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office. The letter did not identify the date or location of the alleged incident, or the
policies allegedly violated. The letter informed Doe that he was to have no further
contact with Roe.

30. The University’s Division of Student Affairs conducted an investigation into
the allegations

31. The investigation, which was conducted by McCrery, lasted approximately
four weeks. Over the course of the investigation, l\/[cCrery interviewed eight
witnesses about the events of the night in question.

32. Following the investigation, a conduct hearing was held on l\/[ay 27, 2016.
Both Doe and Roe were present at the hearing along with hearing officers Keene
and Kyle Rose, Doe’s advisor and mother, Roe’s advisor Smith, McCrery, and
university legal representatives Steve Capaldo and Kristin Hartman.

33. Before presenting his statement, Doe informed Keene and Rose that he had
obtained screenshots of text messages exchanged between Roe and her friend A.K.
the day after the alleged incident, which demonstrated not only that Roe had a clear
recollection of their encounter, but also that it was completely consensual Because
the Title lX investigators failed to ask the witnesses if they had relevant text
messages, Doe received this evidence after the investigation had been closed. He
explained to Keene and Rose that he was informed by Associate Director of Student
Conduct Nannette Gordon Jimenez to present this exculpatory evidence at the

hearing

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34, Keene informed Doe that she and Rose would look at the evidence during a
break and would also give Roe an opportunity to review it, before deciding how they
would proceed.

35. Although Doe was unable to adequately present this new evidence, Roe was
permitted to give Keene and Rose witness statements at the start of the hearing
36. During the hearing, l\/lcCrery outlined her investigation Roe and Doe were
then allowed to ask l\/[cCrery questions pertaining to the investigation The
questions had to be posed to Keene and Rose who would then rephrase the question
to l\/[cCrery. The questions asked could be for clarification purposes only and could
not be asked to prove a point or point out a discrepancy.

37. ln her explanation of the investigation, l\/lcCrery stated that she did not
contact certain witnesses because she was “trying to keep the circle of people who
had been contacted as small as possible.” l\/[cCrery only applied this rationale to
Doe’s witnesses

38. Next, Roe and Doe were given the opportunity to ask each other questions,
through Keene and Rose. Again, these questions had to be for clarification purposes
only.

39. At the conclusion of the hearing, which lasted approximately one and a half
hours, Doe and Roe were informed that they would be receiving a decision within
the next few days.

II. Decision & Sanctions

40. On l\/lay 31, 2016, Doe received a letter from Student Conduct, signed by

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Keene and Rose, informing him that he had been found responsible for two
violations of the Code.

41. Doe was charged with violating the alcoholic beverage policy of the Code
which states, in part, that “each student is expected to comply with the alcohol
regulations s of the Commonwealth of Virginia and the university.”

42. Doe was also charged with violating the Sexual Violence - Rape policy of the
Code. As such, Doe was charged with engaging in physical sexual acts “against a
person’s will or where a person is incapable of giving consent due to the victim’s use
of drugs or alcohol, or is unable to give consent due to an intellectual or other
disability.”

43. As a result of these findings, Doe was permanently dismissed from the
University. A notation was placed on his transcript that reads, “dismissed by
university action." Doe was also ordered to leave campus within 24 hours of the
decision being finalized.

44. The notice also included information regarding the appeals process.

III. Appeal of the Sanction

45. According to the University’s policy, a student may appeal a decision based
on a violation of a procedural guarantee, significant and relevant new information,
and/or unduly harsh and/or arbitrary sanction(s).

46. Per the Virginia Tech policy, Doe appealed the finding of responsibility and

the sanction on all three grounds on June 16, 2016.

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47. In his appeal Doe emphasized the numerous due process violations that
occurred during the investigation and at the hearing, provided new evidence to
further clear his name, He argued that the sanction was unduly harsh in
comparison to similar complaints heard by the Student Conduct Council.

48. On July 8, 2016, Doe received a letter from Angela Simmons, the Assistant
Vice President for Student Affairs, informing him that there was insufficient cause
to reverse the decision made by the hearing officers and that the sanction imposed
was “in line with the severity of the student conduct code violation of sexual
violence - rape.”

49. Simmons’ finding was the final decision in the matter.

COUNT I - VIOLATION OF THE DUE PROCESS CLAUSE OF THE
FOURTEENTH AMENDMENT TO THE UNITED STATES CONSTITUTION
PURSUANT TO 42 U.S.C. § 1983

50. l\/[r. Doe incorporates all other paragraphs in this complaint, as though fully
set forth in this count.

51. The Fourteenth Amendment to the United States Constitution provides that
no state shall “deprive any person of life, liberty, or property, without due process of
the law.”

52. Virginia students at public post-secondary schools, like Virginia Tech, have a

liberty and property interest in their educations, which is protected by the

Fourteenth Amendment’s Procedural Due Process Clause.

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53. l\/lr. Does has a liberty interest in his good name, reputation, honor, and
integrity which is protected by the Fourteenth Amendment’s Procedural Due
Process Clause.

54. Because of l\/[r. Doe’s various liberty and property interests protected by the
Procedural Due Process Clause of the Fourteenth Amendment, Virginia Tech was
obligated to provide him with a fundamentally fair and unbiased disciplinary
process before punishing him for alleged misconduct

55. At a minimum, Virginia Tech was required to afford him proper notice of the
allegations against him and a meaningful opportunity to be heard and to defend
himself

56. The University denied l\/[r. Doe’s due process rights when it failed to properly
notify him of the charges against him, failed to perform a thorough and impartial
investigation, failed to adequately disclose potential conflicts of interest among the
various administrators involved in the conduct process, and disregarded l\/[r. Doe’s
exculpatory evidence, all while favoring Ms Roe’s unsubstantiated and unreliable
accusations

57. Mr. Doe was dismissed from Virginia Tech as a result of the biased and
unjust investigation process, unfairly delaying his education.

58. The finding of responsibility and expulsion will taint l\/lr. Doe’s student
record, which will follow him throughout any other educational or employment

opportunities

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59. As a result of these due process violations l\/[r. Doe was expelled and suffers
ongoing harm to his reputation and numerous damages He was forced to withdraw
from his classes, was significantly delayed in finding an alternate route to
education, and is marred by an erroneous record on his transcript that will
negatively affect future educational and employment opportunities
60. Further, l\/[r. Doe incurred costs to relocate to his parent’s home and applying
to other universities around the country.

WHEREFORE, plaintiff James Doe prays judgment as hereinafter set forth.

COUNT II - VIOLATION OF THE DUE PROCESS CLAUSE OF THE VIRGINIA
CONSTITUTION

61. l\/[r. Doe incorporates all other paragraphs in this complaint, as though fully
set forth in this count.
62. The Virginia Constitution states that “no person shall be deprived of his life,
liberty, or property interests without due process of law.” Va. Const. art. I, § 11.
63. For the reasons stated under Count l, the University deprived l\/[r. Doe of
various liberty and property interests without due process of law.
64. Accordingly, all Defendants are liable to Mr. Doe for violations of the Virginia
Constitution and Defendants l\/[cCrery, Green, and Rose are, liable in their personal
capacities, for all damages arising out of those violations

COUNT III - V'IOLATION OF TITLE IX (20 U.S.C. § 1681 et Seq.)
65. l\/[r. Doe incorporates all other paragraphs in this complaint, as though fully

set forth in this count.

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66. Virginia Tech receives federal funding, including in the form of federal
student loans given to students and is subject to the provisions of Title IX.

67. Title IX prohibits gender discrimination in the educational setting

68. Virginia Tech erroneously found l\/[r. Doe responsible for sexual assault
Indeed, he is innocent of the allegation.

69. Ms. l\/lcCrery disregarded l\/lr. Doe’s statements, failed to investigate evidence
that would have exculpated him of the alleged offenses, and gave preference to the
implausible and inconsistent statements of l\/[s. Roe because of gender bias

70. The serious and deliberate procedural shortcomings in the investigation and
adjudication of the allegations against l\/lr. Doe prevented him from fully defending
himself

71. l\/[oreover, Virginia Tech initiated its investigation in the shadow of (1) Office
of Civil Rights (“OCR”) investigations into how colleges and universities handle
allegations of sexual assault; and, (2) innumerable reports covered in the national
media that suggest the pervasive nature of sexual assault committed by male
students on college campuses throughout the nation. As a reaction to the scrutiny of
these OCR investigations and national stories, and in order to be perceived as
aggressively addressing the perceptions that sexual assault against female students
is rampant on college and university campuses, Virginia Tech treats male students
accused of sexual misconduct by female students more aggressively than it
otherwise would, and more aggressively than it would treat similar complaints

made by male students against female students

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72. Virginia Tech has engaged in a pattern of unfair investigations and

adjudications resulting in serious sanctions being imposed on male students, while

not making comparable efforts with respect to allegations of sexual violence and

abusive conduct made against female students

73. Here, the decision erroneously finding l\/[r. Doe responsible for the alleged

sexual misconduct was motivated by gender bias against accused male students
WHEREFORE, plaintiff James Doe prays judgement as hereinafter set forth.

COUNT IV - NEGLIGENCE

74. l\/lr. Doe incorporates all other paragraphs in this complaint, as though fully

set forth in this count.

75. ln its interactions with lV[r. Doe and in conducting its investigation and

adjudication of Ms. Roe’s complaint, the University owed a duty to l\/[r. Doe to

exercise reasonable care, with due regard for the truth, established polocies and

procedures and the important and irreversible consequences of its actions

76. The University also owed a duty to Mr. Doe to take care in hiring and

providing proper training for all faculty and staff members who would interact with

l\/[r. Doe, to ensure that they understood the requirements of Title IX and the

University policies and procedures and would protect Mr. Doe’s due process rights

as they conducted an impartial investigation

77. Such duties arise from the obligations delineated in the University’s own

policies and procedures and directives issued by the U.S. Department of Education’s

Office for Civil Rights.

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78. l\/[s l\/[cCrery negligently failed to fairly and adequately investigate the
allegations and gather the information required to reach an informed conclusion
concerning accountability
7 9. Virginia Tech, acting through its agents and employees breached a duty to
l\/[r. Doe by carelessly, improperly, and negligently performing its assigned duties,
mischaracterizing the truth, and facilitating a process that violated l\/[r. Doe’s
constitutionally protected rights and interests
80. As a direct and proximate result of the University’s negligence and breach of
duty, Mr. Doe suffered loss of educational opportunities loss of income, and other
future financial losses caused by his expulsion Further, the mark on his student
record significantly delayed l\/[r. Doe’s ability to enroll in another university and to
pursue his desired degree program and will have a lasting impact on his ability to
find employment in his field of choice.
81. As a further direct and proximate result of the University’s negligence,
carelessness and breach of duty, l\/[r. Doe suffered and will continue to suffer from
mental and emotional injuries for which compensation is warranted.
WHEREFORE, plaintiff James Doe prays judgment as hereinafter set forth.
COUNT V _ BREACH OF CONTRACT
82. l\/lr. Doe incorporates all other paragraphs in this complaint, as though fully

set forth in this count.

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83. l\/lr. Doe paid the University sums of money for his education, and in return,
the University contracted to provide l\/[r. Doe with access to its undergraduate
degree program.

84. l\/lr. Doe’s enrollment in, and attendance of, classes at Virginia Tech created
in Mr. Doe an expectation that he would be allowed to continue his course of study
until he earned his degree from the University, provided that he maintained
satisfactory grades and complied with University rules and polices,

85. Accordingly, an implied contractual relationship exists between l\/lr. Doe and
the University, under which each party owes the other certain duties

86. Under the implied contract between l\/[r. Doe and Virginia Tech, Virginia
Tech has a duty not to suspend or expel l\/lr. Doe for disciplinary misconduct
arbitrarily, capriciously, maliciously, discriminatorily, or otherwise in bad faith.

87. The University breached these contractual obligations by suspending l\/[r. Doe
for sexual misconduct through an investigative and adjudicative process that_in
the ways and for the reasons set out above-was arbitrary, capricious malicious
discriminatory, and conducted in bad faith.

88. As a direct and proximate result of this breach, an erroneous finding that l\/[r.
Doe committed sexual assault has been made part of l\/lr. Doe’s educational records
which may be released to educational institutions and employers to whom l\/lr. Doe
applies substantially limiting his ability to gain acceptance to graduate school, or to

secure future employment

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89. Accordingly, Virginia Tech is liable to l\/lr. Doe for breach of contract and for
all damages arising therefrom.
WHEREFORE, plaintiff James Doe prays judgment as hereinafter set forth.
COUNT VI - DECLARATORY JUDGMENT
90. Mr. Doe incorporates all other paragraphs in this complaint, as though fully
set forth in this count
91. Virginia Tech violated l\/lr. Doe’s due process rights when it conducted a
biased investigation disregarded l\/lr. Doe’s witnesses and evidence, and allowed
l\/[s. Roe’s refutable and conflicting information and allegations to go virtually
uninvestigated.
WHEREFC)RE, plaintiff James Doe prays that judgement be entered in his
favor fori
(1) compensatory and punitive damages in an amount to be determined at trial;
(2) a permanent injunction (a) restraining Virginia Tech, and all those acting in
consort with Virginia Tech, from continuing to enforce any punishment
against him and from making any notation on his transcript or keeping any
record relating to his disciplinary hearing in l\/lr. Doe’s education records and
(b) ordering that Virginia Tech rescind and expunge the sanctions entered
against him by Virginia Tech;
(3) a declaration that (a) the University violated l\/lr. Doe’s due process rights
and its actions were motivated purely by gender, and (b) l\/[r. Doe was

unjustly sanctioned by Virginia Tech;

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(4) costs including attorneys’ fees under Title IX and 42 U.S.C. § 1988, and such

further relief as is just and equitable

DATED! July 6, 2018
Rospectfnlly sL )niitt id,

 

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Pro hoc vice application forthcoming

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